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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA




                                                            JUDGMENT IN A CIVIL CASE

CALVIN MOUNTJOY,


                     v.
                                                          CASE NO: 2:15−CV−02204−DJC−DB

SETERUS, INC., ET AL.,




XX −− Jury Verdict. This action came before the Court for trial by jury. The issues
    have been tried and the jury has rendered its verdict.

      IT IS ORDERED AND ADJUDGED

         THAT JUDGMENT IS HEREBY ENTERED IN ACCORDANCE WITH THE
         JURY VERDICT RENDERED 2/9/2024




                                                      Keith Holland
                                                      Clerk of Court


    ENTERED: February 9, 2024


                                      by: /s/ G. Michel
                                                           Deputy Clerk
